                             IN THE UNITED
                  Case: 3:18-cv-00049-jdp    STATES#: DISTRICT
                                          Document    138 Filed: COURT
                                                                 01/11/21 Page 1 of 1
                  FOR THE WESTERN DISTRICT OF WISCONSIN
                                   )
                                   )
                                    )
WILLIAM M. WATTS,
                                    )
       Plaintiff,                   )
                                    )
                                         NOTICE OF APPEAL
  vs.                                            )
                                                 )    Case No. 18-cv-49-jdp
                                                 )
MARK KIDMAN and BRAZOS URETHANE,                 )
                                                 )
INC.,                                            )
         Defendants.                             )
                                                 )


        Notice is hereby given that William M. Watts, in his self-representation,
  hereby Appeals to the U.S. Court of Appeals for the Seventh Circuit from a
 final judgment/Order of 4 U.S. District Court for the Western District of
  Wisconsin, a Summary Judgment motion filed by defendants, granted on Oc-
  tober 5, 2020, and a motion filed by plaintiff to alter or amend thatirJudg-
  ment pursuant to Rule 59 of the Federal Rules of Civil Procedure, denied,
  entered on December 9, 2020, by judge James D. Peterson.



  Dated: January                   01   , 2021                Re pectfully    bmi ted,
                                                        /s/
                                                              William M. Watts, pro se
                                                              #18247-026
                                                              FCI Loretto
                                                              P.O. Box 1000
                       k--
                                                              Cresson, PA 16630


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